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                                                              UNITED STATES BANKRUPTCY COURT
                        11
                                                                          DISTRICT OF NEVADA
                        12

                        13         In re:                                                   Case No. BK-S-21-14486- abl

                        14         INFINITY CAPITAL MANAGEMENT,                             Chapter 7

                        15         INC., dba INFINITY HEALTH
                                                                                            Hearing Date: March 30, 2023
                        16         CONNECTIONS,                                             Hearing Time: 9:30 a.m.

                        17                          Debtor.

                        18
                                             NOTICE OF HEARING REGARDING MOTION TO SET ASIDE ORDER
                        19                             ABANDONING PROPERTY OF THE ESTATE

                        20                  NOTICE IS HEREBY GIVEN that a Motion to Set Aside Order Abandoning Property of

                        21     the Estate (the “Motion”)1 was filed on February 6, 2023, by Tecumseh – Infinity Medical

                        22     Receivable Fund, LP (“Tecumseh”). This Motion is made pursuant to Fed. R. Bank P. 9024 which

                        23     makes applicable Fed. R. Civ. P. 60(b)(6) to this adversary proceeding, to set aside and vacate the

                        24     Order Granting Joint Motion of Chapter 7 Trustee and Secured Creditor HASelect Medical

                        25     Receivables Litigation Finance Fund International SP to Approve Abandonment of Collateral

                        26     [ECF No. 97] (“Abandonment Order”) entered on October 15, 2021.

                        27
                               1
                        28         Capitalized terms not otherwise defined herein shall have those meaning ascribed to them in the Motion.

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                          1           NOTICE IS FURTHER GIVEN that if you do not want the court to grant the relief sought

                          2    in the Motion, or if you want the court to consider your views on the Motion, then you must file

                          3    an opposition with the court, and serve a copy on the person making the Motion no later than 14

                          4    days preceding the hearing date for the motion, unless an exception applies (see Local Rule

                          5    9014(d)(3)). The opposition must state your position, set forth all relevant facts and legal authority,

                          6    and be supported by affidavits or declarations that conform to Local rule 9014(c).

                          7
                                     If you object to the relief requested, you must file a WRITTEN response to this
                          8          Pleading with the court. You must also serve your written response on the person
                                     who sent you this notice.
                          9

                        10           If you do not file a written response with the court, or if you do not serve your
                                     written response on the person who sent you this notice, then:
                        11
                                            The court may refuse to allow you to speak at the scheduled hearing; and
                        12
                                            The court may rule against you without formally calling the matter at the
                        13
                                             hearing.
                        14

                        15            NOTICE IS FURTHER that pursuant to Administrative Order 2020-14, all hearings are

                        16     currently being held telephonically absent further order of the Court. The hearing will be held on

                        17     March 30, 2023, at 9:30 a.m. The telephone conference line is (669) 254-5252, Meeting ID

                        18     161 110 6049 Passcode 154251#.

                        19            If you intend to participate at this hearing, please check the Court’s website prior to the

                        20     …

                        21

                        22     …

                        23

                        24     …

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                        26     …

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                          1    hearing for any updated instructions relating to the court participation number and access code.

                          2    You may view the Court Calendar at: http://www.nvb.uscourts.gov/calendars/court-calendars/.

                          3    Select the hearing judge.

                          4            DATED this 6th day of February, 2023.

                          5                                                Respectfully submitted,
                          6                                                GARMAN TURNER GORDON LLP
                          7
                                                                           By: /s/ Gerald M. Gordon
                          8                                                   GERALD M. GORDON, ESQ.
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                                                                               Attorneys for Tecumseh–Infinity Medical
                        20                                                     Receivable Fund, LP
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